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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                 May 21, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                   §
KERRY LEE THOMAS,                                  §
                                                   §
                        Plaintiff,                 §
v.                                                 §    CIVIL ACTION NO. H-23-0662
                                                   §
ROBERT JOHNSON, et al.,                            §
                                                   §
                        Defendant.                 §


                          THIRD AMENDED SCHEDULING AND
                              DOCKET CONTROL ORDER

        The disposition of this case will be controlled by the following amended schedule:




                                     EXPERTS ON MATTERS OTHER THAN
     1. July 15, 2024                ATTORNEY’S FEES
                                     The plaintiff (or the party with the burden of proof on an issue)
                                     will designate expert witnesses in writing and provide the
                                     report required by Rule 26(a)(2) of the Federal Rules of Civil
                                     Procedure.

        August 16, 2024              The opposing party will designate expert witnesses in writing
                                     and provide the report required by Rule 26(a)(2) of the Federal
                                     Rules of Civil Procedure.

                                     MEDIATION
     2. September 23, 2024
                                     Mediation or other form of dispute resolution must be
                                     completed by this deadline.
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   3. September 23, 2024          COMPLETION OF DISCOVERY
                                  Written discovery requests are not timely if they are filed so
                                  close to this deadline that under the Federal Rules of Civil
                                  Procedure the response would not be due until after the
                                  deadline.

   4. October 4, 2024             PRETRIAL DISPOSITIVE MOTIONS DEADLINE
                                  No motion may be filed after this date except for good cause.

                                  JOINT PRETRIAL ORDER AND MOTION IN
   5. December 6, 2024
                                  LIMINE DEADLINE
                                  The Joint Pretrial Order will contain the pretrial disclosures
                                  required by Rule 26(a)(3) of the Federal Rules of Civil
                                  Procedure. Plaintiff is responsible for timely filing the
                                  complete Joint Pretrial Order. Failure to file a Joint Pretrial
                                  Order timely may lead to dismissal or other sanction in
                                  accordance with the applicable rules.

   6. December 13, 2024           DOCKET CALL
                                  Docket Call will be held at 2:00 p.m. in Courtroom 11-B,
                                  United States Courthouse, 515 Rusk, Houston, Texas. No
                                  documents filed within 7 days of the Docket Call will be
                                  considered. Pending motions may be ruled on at docket call,
                                  and the case will be set for trial as close to the docket call as
                                  practicable.

       Any party wishing to make any discovery motions should arrange for a pre-motion
conference with the court before the preparation and submission of any motion papers. That
includes a motion to compel, to quash, or for protection.             Email Mrs. Eddins at
Lisa_Eddins@txs.uscourts.gov or fax her at 713-250-5213 to arrange for a pre-motion conference.
Notify your adversary of the date and time for the conference.



       SIGNED on May 21, 2024, at Houston, Texas.




                                                  ________________________________
                                                                 Lee H. Rosenthal
                                                            United States District Judge
